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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION


                                                 §
                                                 §
ROTHSCHILD CONNECTED DEVICES                     §
INNOVATIONS, LLC,                                §   Case No: 2:15-cv-01877-JRG-RSP
                                                 §
         Plaintiff,                              §   LEAD CASE
v.                                               §
                                                 §
AMERICAN HONDA MOTOR CO., INC.,                  §
et al.,                                          §
        Defendants.                              §
                                                 §
_____________________________________            §
                                                 §
ROTHSCHILD CONNECTED DEVICES                     §
INNOVATIONS, LLC,                                §   Case No: 2:15-cv-01641-JRG-RSP
                                                 §
         Plaintiff,                              §   CONSOLIDATED CASE
v.                                               §
                                                 §
AT&T MOBILITY LLC,                               §
                                                 §
         Defendant.                              §


                               AGREED MOTION FOR DISMISSAL

            The plaintiff Rothschild Connected Devices Innovations, LLC (“Plaintiff”) and defendant

     AT&T Mobility LLC, pursuant to Fed. R. Civ. P. 41(a), stipulate to and move for an order

     dismissing all of Plaintiff’s claims with respect to United States Patent No. 8,788,090 against

     AT&T Mobility LLC, with prejudice.

            Plaintiff and defendant AT&T Mobility LLC also move for an order dismissing as moot,

     and without prejudice, all counterclaims brought by AT&T Mobility LLC against Plaintiff in the

     above-captioned action.
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       Plaintiff and defendant AT&T Mobility LLC further move the Court to order that all

costs and expenses relating to this litigation (including attorneys’ and expert fees and expenses)

with respect to Plaintiff and defendant AT&T Mobility LLC be borne solely by the party

incurring the same.




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Dated: May 3, 2016                                      Respectfully submitted,




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ATTORNEYS FOR PLAINTIFF                                 ATTORNEYS FOR DEFENDANT
ROTHSCHILD CONNECTED DEVICES                            AT&T MOBILITY LLC
INNOVATIONS, LLC




                               CERTIFICATE OF SERVICE

        I hereby certify that as of this date all counsel of record have consented to electronic
service and are being served with a copy of this document through the Court’s CM/ECF system
under Local Rule CV-5(a)(3)(A).

                                            /s/ Timothy S. Durst
                                            Timothy S. Durst




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